*5$17('



                  IN THE UNITED STATES DISTRICT COURT
                    FOR MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

 UNITED STATES OF AMERICA,           )
                                     )
 vs.                                 )    No.    3:11-00012
                                     )           Judge Nixon
 DMITRI JOHNSON                      )


           SECOND MOTION TO JOIN SPECIFIC PRE-TRIAL MOTIONS


       Comes now, Dmitri Johnson, by and through counsel, Cynthia

 Morrissey Fort, and would move this Honorable Court to allow the

 defendant to join in the following motions docketed as:

       [748], [777], [800],[822],[828],[835],[838], [846],
       [851], [854], [855], [862], [863], [875], [[938],
       [941], [943].


                                     Respectfully submitted,


                                     s/Cynthia M. Fort
                                     Cynthia M. Fort #14420
                                     111 Union Street
                                     Nashville, Tennessee 37201
                                     Phone: (615) 242-5453




                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing
 with the clerk of the court by using the CM/ECF system, which will
 send a Notice of Electronic Filing to the following: the Honorable
 Sunny A.M. Koshy, Assistant United States Attorney, Federal Court
 Building, 110 9th Avenue South, A961, Nashville, Tennessee 37203.


                                                 s/ Cynthia M. Fort



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